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UNITED STATES DISTRICT COURT ^ 1\ I Ousj/\
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                 -v-



                                                              ORDER OF CONTINUANCE
JACQUELINE GALLER,
a/k/a "Star Galler"


                                                              19 Mag. 1009
                                Defendant. :



                 Upon the application of the United States of America and the affirmation of

Mathew S. Andrews, Assistant United States Attorney, it is found that JACQUELINE CALLER,

a/k/a "Star Galler," the defendant, was charged with a violations of 18 U.S.C. §§ 1343, 1349, and


1956 in a complaint dated January 31,2019,and was arrested on February 6, 2019;

                 It is further found that the defendant was presented before Magistrate Judge Judith

C. McCarthy on February 6, 2019, and the defendant was released on, among other conditions, a


$100,000 unsecured bond to be cosigned by a financial responsible person; travel restricted to

the Southern and Eastern Districts of New York; submission to supervision to the Pretrial


Services Department, and surrender of any passport;


                 It is further found that Ben Ostrer, Esq., counsel for GALLER, has been engaging


in preliminary discussions with the Government concerning possible disposition of this case


without trial;

                 It is further found that the Government has requested a continuance of the


preliminary hearing date, nuncpro tune from March 6, 2019, to engage in further discussions


with counsel about the disposition of this case without trial and that counsel for the defendant on
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behalf of the defendant has agreed that a continuance until April 3, 2019 may be granted for such

purpose;


             It is further found that the granting of such a continuance best serves the ends of


justice and outweighs the best interest of the public and the defendant in a speedy trial; and

                  It is further found that in light of the defendant's ongoing attempts to cooperate

with the Government, there is good cause to seal this Order and the underlying Affidavit; and

therefore it is

                  ORDERED that the request for a continuance pursuant to Title 18, United States

Code, Section 3161(h)(7)(A) is hereby granted until April 3,2019, and that a copy of this order

and the affirmation of Assistant United States Attorney Mathew S. Andrews be served by mail

on counsel for the defendant by the United States Attorney; and

                  ORDERED that this Order and the underlying affidavit be filed under seal in

order to protect the safety of the defendant and the integrity of the Government's ongoing


investigation.


Dated: White Plains, New York
       March 13, 2019                                            ,^r/-^7

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                                                UNITED^STATES MAGISTRATE JUDGE
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA :


               - v - : AFFIRMATION

JACQUELINE GALLER,
a/k/a "Star Galler," 19 Mag. 1009

                     Defendant.



STATE OF NEW YORK )
COUNTY OF ORANGE : ss.:
SOUTHERN DISTRICT OF NEW YORK )

               Mathew S. Andrews, under penalty of perjury, hereby affirms as follows:


               1. I am an Assistant United States Attorney in the Southern District of New

York. I submit this affirmation in support of an application for an initial order of continuance of


the time within which an indictment or information would otherwise have to be filed» pursuant to


Title 18, United States Code, Section 3161(h)(7)(A), to be effective nuncpro time from the date

of March 6, 2019.


       JACQUEUNE GALLER, a/k/a "Star Caller;' the defendant, was charged with a

violations of 18 U.S.C. §§ 1343, 1349, and 1956 in acomplaint dated January 31, 2019, and was

arrested on February 6, 2019. The defendant was presented before Magistrate Judge Judith C.


McCarthy on February 6, 2019, and the defendant was released on, among other conditions, a


$100,000 unsecured bond to be cosigned by a financial responsible person; travel restricted to


the Southern and Eastern Districts of New York; submission to supervision to the Pretrial


Services Department, and surrender of any passport.
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                2. The initial preliminary hearing date was therefore set for March 6, 2019.

Since that date, Ben Ostrer, Esq., counsel for GALLER, and the Government have been


engaging in discussions concerning a possible disposition of this case without trial, and those

discussions are ongoing. In order to continue those discussions, GALLER, through Mr. Ostrer,


agreed to continue the preliminary hearing date.


                3. Due to administrative error, this case did not initially appear on the


magistrate's calendar.


                4. Accordingly, the Government now requests a continuance of the


preliminary hearing, effective mmcpro tune from March 6, 2019, to April 3,2019,so that the

parties can continue to discuss a possible disposition of this case without trial. I have discussed


the matter with Mr. Ostrer by email on March 11, 2019, and they each have agreed that such


relief would be appropriate.

                5. For the reasons stated above, the ends of justice served by the granting of


the continuance requested outweigh the best interests of the public and defendant in a speedy


trial.


               6. Pursuant to Title 28, United States Code, Section 1746, I declare under


penalties of perjury that the foregoing is true and correct.


Executed on March 13, 2019.

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                                               Mathew S. Andrews
                                               Assistant United States Attorney
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                         or
